
ORDER
| ⅜ Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel, the response thereto filed by respondent, and the report and recommendation of the hearing committee,
IT IS ORDERED that Chanci S. Shaw, Louisiana Bar Roll number 27641, be and she hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
FOR THE COURT:
/s/ Greg G. Guidry
Justice, Supreme Court of Louisiana
